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      Case 2:21-cr-00242-MWF Document 1 Filed 05/18/21 Page 1 of 6 Page    IDDISTRICT
                                                                    CLERK, U.S. #:1 COURT
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                                                                         CENTRAL DISTRICT OF CALIFORNIA
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8                             UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               October 2020 Grand Jury

11   UNITED STATES OF AMERICA,                   CR 2:21-cr-00242-MWF

12              Plaintiff,                       I N D I C T M E N T

13              v.                               [18 U.S.C. § 912: False
                                                 Impersonation of a Federal Officer
14   FRANCISCO OSORIO,                           and Employee; 18 U.S.C.
                                                 § 506(a)(3): Possession of
15                                               Fraudulent Seals of Departments
                Defendant.                       and Agencies of the United States;
16                                               18 U.S.C. § 1017: Wrongful Use and
                                                 Transfer of Documents Bearing
17                                               Fraudulent Government Seals; 18
                                                 U.S.C. §§ 492, 981(a)(1)(C), 28
18                                               U.S.C. § 2461(c): Criminal
                                                 Forfeiture]
19

20        The Grand Jury charges:
21                                        COUNT ONE
22                                   [18 U.S.C. § 912]
23        From on or about August 27, 2018 to on or about November 23,
24   2018, in Los Angeles County, within the Central District of
25   California, defendant FRANCISCO OSORIO falsely assumed and pretended
26   to be an officer and employee acting under the authority of the
27   United States and a department and agency thereof, namely, an
28   employee of the United States National Archives and Records
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1    Administration (“NARA”), knowing that he was not, in fact, an officer

2    and employee of NARA or the United States, and:

3         1.   Acted as such by, among other things, (a) asserting federal

4    ownership and control of a parcel of real property in La Mirada,

5    California, (b) asserting federal jurisdiction to interfere with an

6    investigation and actions of the California Highway Patrol, and

7    (c) posting what purported to be official government notices warning

8    against trespassing on federal property; and

9         2.   In such pretended character, demanded and obtained a thing
10   of value, namely, control of real property located in La Mirada,
11   California.
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1                                      COUNT TWO

2                              [18 U.S.C. § 506(a)(3)]

3         From on or about August 27, 2018 to on or about November 23,

4    2018, in Los Angeles County, within the Central District of

5    California, defendant FRANCISCO OSORIO, with fraudulent intent,

6    possessed a counterfeit and fraudulently made seal of a department

7    and agency of the United States and facsimile thereof, namely,

8    signage on a white Nissan Rogue vehicle bearing the seal of the

9    United States National Archives and Records Administration (“NARA”),
10   purporting to be issued by NARA, knowing that the NARA seal was
11   counterfeited and fraudulently made.
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1                                     COUNT THREE

2                                 [18 U.S.C. § 1017]

3         From on or about August 27, 2018 to on or about November 23,

4    2018, in Los Angeles County, within the Central District of

5    California, and elsewhere, defendant FRANCISCO OSORIO fraudulently

6    and wrongfully used and transferred to another a certificate,

7    instrument, commission, document, and paper, to which and upon which

8    the seal of a department and agency of the United States, namely, the

9    United States National Archives and Records Administration, had been
10   fraudulently affixed and impressed, with knowledge of its fraudulent
11   character.
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1                               FORFEITURE ALLEGATION

2         [18 U.S.C. §§ 492 and 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

3         1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Sections 492 and 981(a)(1)(C), and Title 28,

7    United States Code, Section 2461(c), in the event of defendant’s

8    conviction of the offense set forth in Count Two of this Indictment.

9         2.   The defendant, if so convicted, shall forfeit to the United
10   States of America the following:
11             (a)   All right, title and interest in any and all property,
12   real or personal, constituting, or derived from, any proceeds
13   traceable to such offense;
14             (b)   All right, title, and interest in any and all
15   counterfeits, articles, devices, and other things made, possessed, or
16   used in such offense, or any material or apparatus used or fitted or
17   intended to be used in the making of such counterfeits, articles,
18   devices, or things; and
19             (c)   To the extent such property is not available for

20   forfeiture, a sum of money equal to the total value of the property

21   described in subparagraphs (a) and (b).

22        3.   Pursuant to Title 21, United States Code, Section 853(p),

23   as incorporated by Title 28, United States Code, Section 2461(c), the

24   defendant shall forfeit substitute property, up to the total value of

25   the property described in the preceding paragraph if, as the result

26   of any act or omission of the defendant, the property described in

27   the preceding paragraph, or any portion thereof: (a) cannot be

28   located upon the exercise of due diligence; (b) has been transferred,

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1    sold to or deposited with a third party; (c) has been placed beyond

2    the jurisdiction of the court; (d) has been substantially diminished

3    in value; or (e) has been commingled with other property that cannot

4    be divided without difficulty.

5

6                                               A TRUE BILL
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8                                                      /S/
                                                Foreperson
9
10   TRACY L. WILKISON
     Acting United States Attorney
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13   BRANDON D. FOX
     Assistant United States Attorney
14   Chief, Criminal Division

15   STEVEN R. WELK
     Assistant United States Attorney
16   Chief, Asset Forfeiture Section

17   DAN G. BOYLE
     Assistant United States Attorney
18   Asset Forfeiture Section

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